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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

SYLVIA BENAVIDES,                                 §
                                                  §
               Plaintiff,                         §
                                                  §
v.                                                §                   1:20-CV-1218-RP
                                                  §
TEXAS DEPARTMENT OF FAMILY AND                    §
PROTECTIVE SERVICES,                              §
                                                  §
               Defendant.                         §

                                              ORDER

       Before the Court is the report and recommendation of United States Magistrate Judge Susan

Hightower concerning Defendant Texas Department of Family and Protective Services’ (“DFPS”)

Motion to Dismiss Plaintiff’s Second Amended Complaint, (Dkt. 16). (R. & R., Dkt. 26). In her

report and recommendation, Judge Hightower recommends that the Court grant the motion and

grant Plaintiff Sylvia Benavides (“Benavides”) leave to file an amended complaint. (Id. at 8). DFPS

timely filed objections to the report and recommendation. (Objs., Dkt. 28 ). Benavides then filed a

response. (Resp., Dkt. 29).

       A party may serve and file specific, written objections to a magistrate judge’s findings and

recommendations within fourteen days after being served with a copy of the report and

recommendation and, in doing so, secure de novo review by the district court. 28 U.S.C.

§ 636(b)(1)(C). Because DFPS timely objected to the report and recommendation as to Benavides’s

failure to accommodate claim, disability discrimination claim, and request for leave to amend, the

Court reviews those portions of the report and recommendation de novo. Having done so, and

acknowledging that the objections as to the failure to accommodate and discrimination claims do

not implicate the ultimate recommendation to grant DFPS’s motion, the Court overrules DFPS’s

objections and adopts the report and recommendation as its own order.
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        Accordingly, the Court ORDERS that the report and recommendation of United States

Magistrate Judge Susan Hightower, (Dkt. 26), is ADOPTED. DFPS’s motion, (Dkt. 16), is

GRANTED.

        IT IS FURTHER ORDERED that Benavides’s request for leave to amend her complaint

is GRANTED.

        IT IS FINALLY ORDERED that Benavides shall file her third amended complaint no

later than April 13, 2022.

        SIGNED on March 14, 2022.




                                          ROBERT PITMAN
                                          UNITED STATES DISTRICT JUDGE




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